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Va United States District Court
AQ 91 (Rev. 02/09) Criminal Complaint () } Southern District of Texas
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UNITED STATES DISTRICT COURT — APR 2.4 2019
for the
Southern District of Texas David J. Bradley, Clerk of Court
)
United States of America ) J
V. ) Case No. AAG Ud _
)
Bianca Garcia RODRIGUEZ )
Defendant
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date of April 23,2019 _ in the county of Cameron __ inthe Southern District of

Texas , the defendant violated 18 U.S.C. § 554 and 371

 

an offense described as follows:

Knowingly conspired to export or send from the United States, or attempt to export or send from the United States,
any merchandise, article, or object contrary to any law or regulation of the United States, or receives, conceals, buys,
sells, or in any manner facilitates the transportation, concealment, or sale or such merchandise, article or object, prior
to exportation, knowing the same to be intended for the exportation contrary to any law or regulation of the United
States, to wit: 3,600 rounds of .223 caliber ammunition.

This criminal complaint is based on these facts:

On April 23, 2019 Bianca Garcia RODRIGUEZ was departing the U.S. through the Brownsville and Matamoros
Port of Entry at Brownsville, TX, driving a black Chevrolet Suburban. The Suburban was referred to outbound
inspection. RODRIGUEZ gave Customs and Border Protection Officers (CBPOs) a negative declaration for
weapons, ammunition and money. During the secondary inspection of the vehicle, 3,600 rounds of .223 caliber
ammunition was discovered.

© Continued on the attached sheet. (YK)

Complainant’s signature

Christopher Roberts, HSI Special Agent

 

 

Printed name and title
Oo

Sworn to before me and signed in my presence.

Date: U2Z¢ [ ZOl@

City and state: Brownsville, Texas Ignacio Tortéya III, U.S. Magistrate Judge
Printed name and title

 

 
